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Meta MIL #7, Exhibit A
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Meta MIL #7, Exhibit B
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Meta MIL #7, Exhibit C
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Meta MIL #7, Exhibit D
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Meta MIL #7, Exhibit E
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Let's Take the Con Out of Econometrics
Author(s): Edward E. Leamer
Source: The American Economic Review , Mar., 1983, Vol. 73, No. 1 (Mar., 1983), pp. 31-
43
Published by: American Economic Association

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A Daubert Discipline for Merger Simulation
BY GREGORY J. WERDEN, LUKE M. FROEB, AND DAVID T. SCHEFFMAN




L
           I T T L E AT T E N T I O N WA S PA I D TO                            Federal Rules of Evidence and then detail several modeling
           the unilateral effects of mergers prior to the release               choices that matter—showing how some might be support-
           of the 1992 Horizontal Merger Guidelines.1 But                       ed by evidence, and how others should be subject to sensi-
           “merger simulation”—the formal use of structural,                    tivity analysis. This discussion draws on lessons learned from
           game-theoretic models to make quantitative pre-                      a decade of applying the merger simulation methodology, the
dictions of unilateral competitive effects—quickly came into                    main one being that it is a serious mistake to use the method-
vogue after their release. The idea is simple: With suitable                    ology to predict the future without first making sure that it
models indicating what actions market participants take                         explains the past.
under particular circumstances, it is straightforward to pre-
dict the likely outcome, or “equilibrium,” of their interac-                    A Daubert Discipline for Merger Simulation
tion, and it is similarly straightforward to compute the like-                  Daubert and Progeny. In Daubert the Supreme Court
ly effects of a merger on the equilibrium, provided that the                    required trial judges to ensure that only “scientifically valid”
same, well-specified model of competitor interaction applies                    testimony is exposed to the jury.4 In Kumho Tire the Court
before and after the merger. Thus, merger simulation takes                      explained the purpose of “Daubert’s gatekeeping requirement”
a standard model of oligopoly appropriate for the industry,                     “is to make certain that an expert . . . employs in the court-
calibrates it to match critical features of the industry (e.g.,                 room the same level of intellectual rigor that characterizes
prices and market shares), and uses it to compute the post-                     the practice of an expert in the relevant field,” 5 and it made
merger equilibrium internalizing competition between the                        clear that the gatekeeping requirement applies to all expert tes-
merging firms.2                                                                 timony, including economic testimony in merger cases.6
    If merger simulation had a well-established and consistent                      In Daubert, the Court also held that expert testimony is
high degree of accuracy in predicting the effects of actual                     admissible only if “sufficiently tied to the facts of the case that
mergers, its reliability would be a settled question. Because                   it will aid the jury in resolving a factual dispute,” i.e., only if
that is not the case,3 the reliability of any particular applica-               there is a good “fit” between the testimony and the pertinent
tion of merger simulation should be gauged by examining the                     inquiry.7 In Joiner, the Court again stressed this “fit” require-
modeling process, which is at least as much art as science. To                  ment in cautioning that a court should not “admit opinion
make the myriad choices required, the modeler draws on                          evidence which is connected to existing data only by the ipse
prior beliefs as well the available data, so any predictions from               dixit of the expert. A court may conclude that there is sim-
a model derive from a complex combination of beliefs, qual-                     ply too great an analytical gap between the data and the
itative evidence, and data. Particularly because merger simu-                   opinion proffered.” 8
lation may be used in an adversarial setting, it is important to                    Failure to fit the facts has been the principal basis for
examine the process of combining these inputs. Thus, we                         excluding economic expert testimony in antitrust cases. The
propose that every modeling choice in a merger simulation apt                   leading example is Concord Boat, in which the court held that
to matter significantly be accompanied either by some sort of                   “a theory that might meet certain Daubert factors . . . should
justification or by a sensitivity analysis indicating its impact.               not be admitted if it does not apply to the facts of the case.” 9
    We first explain how our proposal for assessing the relia-                  After the “thorough analysis of the expert’s economic model”
bility of merger simulation borrows principles from the                         required by Daubert, the court found the model wanting in
                                                                                several respects.10 In several other antitrust cases, testimony
 Gregor y Werden is Senior Economic Counsel, Antitrust Division, U.S.           premised on empirical economic models was excluded
 Depar tment of Justice. Luke Froeb is Director, Bureau of Economics,           because the courts determined that those models departed
 Federal Trade Commission. David Scheffman is a Director of LECG and            from the facts of the case in critical ways.11
 adjunct professor at the Owen School of Management, Vanderbilt                     A Daubert Discipline. The Daubert line of cases address-
 University and formerly was Director of the FTC Bureau of Economics. The
                                                                                es the admissibility of expert testimony at trial. Although very
 views expressed herein are not purpor ted to be those of the U.S.
 Depar tment of Justice, the Federal Trade Commission, or any of its
                                                                                few merger cases ever go to trial, merger analysis in general,
 Commissioners. John Geweke and Tim Muris provided helpful comments.            and merger simulation in particular, nevertheless should
                                                                                exhibit “intellectual rigor,” and “the ipse dixit of the expert”

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is never acceptable. To impose the sort of discipline that            of the likely effects of mergers. These two sources of error
would be imposed at trial, every modeling choice in a merg-           imply, for example, that price increase predictions close to
er simulation apt to matter significantly should be accom-            zero cannot meaningfully be distinguished from zero.16
panied either by some sort of justification or by a sensitivity
analysis indicating its impact.                                       Basic Issues in Simulating Branded Consumer
    For most modeling choices, the justification should be            Products Mergers
that they “fit” the industry under review, i.e., that there is        Merger simulation has most often been applied to mergers
consistency between the factual setting of the industry and           involving branded consumer products, using the Bertrand
a structural model that can be employed in a simulation.              oligopoly model. That model assumes competitors interact
Evaluating fit draws on the full array of qualitative evidence        just once, each maximizing its short-run profit, with price as
developed in the case. Evaluating fit also draws on particular        the sole dimension of competition.17 Bertrand equilibrium is
quantitative features of the industry, which may be directly          reached when all competitors are happy with their prices,
measured, as with price-cost margins, or estimated econo-             given rivals’ prices.18 Whether the Bertrand model is appro-
metrically, as with demand elasticities. If there is a general rule   priate in any particular case may depend on many consider-
for evaluating fit, it is that a model of the competitive process     ations, three of which are of general application.
fits the industry if it explains the past at a fairly high level of      First, the role of non-price competition should be evalu-
generality. For example, it is wholly unnecessary for a model         ated. Aspects of marketing strategy may interact in important
to explain week-to-week price movements, but essential that           ways with the choice of price or be affected by the merger in
it explain the average level of prices over a year.                   ways that would cause the price-increase predictions to be a
    Of course, Daubert does not demand a perfect fit between          seriously misleading description of the merger’s effects.
the model and the facts. Structural economic models are               Second, responses in the recent past to any significant cost
abstractions that can never perfectly describe the real world.        changes, new product introductions, or other “shocks” should
Moreover, a perfect fit between the model and the facts is not        be evaluated, asking how well the Bertrand model would
even a goal to which a modeler should aspire. If structural           have predicted them. Finally, the observed price-cost margins
models become too complex, through elaborate attempts to              for the merging products and close substitutes should be
fit every detail of an industry, the models are apt to lose their     compared to the margins predicted by the Bertrand model.19
value in merger analysis; they likely impose unreasonable                The first step in a merger simulation is model “calibra-
informational demands and may yield no clear predictions.             tion”—choosing parameter values to make the model fit
What is required is that a standard model of oligopoly inter-         certain features of the industry.20 In simulating a branded
action explain past outcomes of the competitive process rea-          consumer products merger using the Bertrand model, cali-
sonably well. Hence, a model may fit an industry quite well           bration involves prices, shares, and elasticities of demand.
enough even if it does not reflect notable features of the            A set of prices and shares is chosen to represent the equilib-
industry.12 Anyone performing a merger simulation ulti-               rium “but for” the proposed merger, i.e., the prices and
mately should be convinced, and prepared to persuade oth-             shares that are expected to prevail in the near future absent
ers, that the oligopoly model employed explains the past well         the merger.21 The best evidence of the “but for” equilibrium
enough to provide useful predictions of the future.13                 normally is the equilibrium prevailing when the merger is
    For a few modeling choices, an ample justification can be         proposed, so the usual practice is to take the “but for” equi-
found in an axiom of economics, e.g., that firms maximize             librium to be the average prices and shares over a recent peri-
profits (in some sense). And for a few modeling choices, no           od, commonly the most recent one-year period for which
justification is likely to be available because neither economic      data are available. In particular cases, however, it may be
theory nor observation of the industry indicates which choice         appropriate to adjust historic data to reflect reasonably fore-
to make. For example, neither provides a sound basis for              seeable changes in prices or shares absent the merger.
choosing a particular functional form for consumer demand.               Demand elasticities often are estimated econometrically
Such choices should be subjected to a sensitivity analysis—           using high frequency scanner data or survey data. Estimation,
analyzing the implications of alternative choices—to make             especially using scanner data, raises a host of potentially dif-
clear the range of uncertainty that surrounds the predictions         ficult econometric issues 22 and ultimately may not bear sig-
of the model and whether the particular choice is apt to              nificant fruit. When reliable estimation is infeasible, the
skew predictions in a particular direction. Price increase pre-       demand elasticities can be approximated from indications of
dictions may prove insensitive to some choices, but they are          preferences or switching patterns derived from surveys, mar-
quite sensitive to others.14                                          keting studies, and other documentary evidence. Alterna-
    Price-increase predictions always are subject to modeling         tively, because the demand elasticities must have a particular
error, stemming from assumptions that are never exactly               relationship to price-cost margins in a Bertrand equilibrium,
right and may be terribly wrong, and from sampling error in           they can be approximated from observed margins.
the statistical estimation of model parameters.15 Merger sim-            The predicted price effects of the merger are the differ-
ulation predictions are at best reasonable, but rough, estimates      ences between the simulated post-merger prices and the

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prices used in the calibration. It would be meaningless to         the real world. Experience with merger simulation has taught
compare the simulated post-merger prices to any set of pre-        that it can usefully complement a fact-intensive analysis of
merger prices other than those used to calibrate the model,        consumers, competitors, and the institutional setting of an
because the difference between the two would only partially        industry, but it cannot substitute for such an analysis. An
be attributable to the effects of the merger. In Concord Boat      assessment of the facts is required to determine which of
the court of appeals rejected a damage estimate the court          many combinations of evidence and assumptions (about
found to have been based on such a faulty comparison. The          demand and competitor interaction) are reasonable.
damage model in that case attributed to the challenged con-
duct all sales made by the defendant in excess of half of total    Three Important Modeling Choices
market sales. That attribution was inappropriate because the       Simulating a merger involving branded consumer products
defendant made three-quarters of market sales before under-        involves many choices, and the price increase predictions
taking the challenged conduct.23 A properly calibrated model       can be highly sensitive to some of them. The remainder of
might have attributed to the challenged conduct only sales by      this article explores several important examples.
the defendant in excess of three-quarters of total market sales.       Demand Elasticities. Demand elasticities are critical
    Simulating post-merger prices requires values for the mar-     determinants of the price increase predictions from the sim-
ginal costs for all products in the simulation, which gener-       ulation of a merger among sellers of branded consumer
ally are inferred from the calibrated model. The pre-merger        products that compete strictly on the basis of price. In the
marginal costs are assumed to be those making the observed         Sprint-WorldCom merger investigation,26 several econo-
prices and shares a Bertrand equilibrium, given the estimat-       mists estimated firm-level demand elasticities for residential
ed elasticities. In computing the post-merger equilibrium, it      long-distance service, in which the merger would have com-
generally is necessary to assume that marginal costs are           bined the second and third largest carriers.27 Unfortunately,
invariant to output, although it is simple to incorporate any      it can be difficult to get precise estimates of demand elas-
likely effects of merger synergies on the marginal costs of the    ticities, and demand estimation for residential long-distance
merging products.                                                  service presented major problems.28 Particularly when there
    It is important to compare the inferred marginal costs         are such problems, it is important to explore the sensitivity
with whatever evidence is available on actual marginal costs.24    of the price increase predictions to the choice of values for
If it appears that the inferred marginal cost for any merging      the relevant demand elasticities.
product differs substantially from the likely true value, the          To illustrate the sort of sensitivity analysis that might be
Bertrand model does not explain pre-merger pricing and             used, we consider a simple model, based on a restrictive—
therefore cannot reliably predict post-merger prices.25 Cost       potentially unrealistic—assumption about the nature of sub-
data for non-merging products typically are not available, but     stitution among competing brands. This assumption is that
even without access to cost data, it may be apparent that the      customers lost by one carrier as it increased price would
inferred marginal costs for one or more non-merging prod-          switch to other carriers in proportion to their relative market
ucts are implausible. For example, a negative marginal cost        shares.29 Hence, a carrier with a share of 20 percent would
clearly is implausible. The inference of a negative marginal       gain twice as many customers as a carrier with a share of 10
cost despite a plausible value for a product’s demand elastic-     percent. This restrictive assumption makes it possible to cal-
ity indicates that the Bertrand model does not explain that        ibrate the model with just prices, shares, and two demand
product’s pricing; indeed, such a product is being priced          elasticities—the aggregate elasticity of demand for residential
much more aggressively in the real world than the Bertrand         long-distance service and the elasticity of demand faced by
model predicts. It also can be useful to compare inferred          any one individual carrier.30
marginal costs across products, checking in particular for             Figure 1 presents a contour plot of the predicted increase
implausibly large inter-product differences in marginal costs.     in residential long-distance prices averaged over all carriers,
    A virtue of formal structural modeling, such as merger         assuming Bertrand competition among them.31 This plot
simulation, is that it forces assumptions to be made explicit,     reflects values of residential long-distance demand elasticity
which facilitates the examination of the differing implications    between –1.5 and –0.5 and values of WorldCom’s demand
of alternative assumptions. Structural modeling can be par-        elasticity between –4 and –1.25. This range of aggregate elas-
ticularly useful for identifying what really matters, why it       ticities brackets estimates in the academic literature, while the
matters, and how much it matters. A decade of merger sim-          range of WorldCom elasticities is consistent with many esti-
ulation also has lead to a greater appreciation of the com-        mates we have seen for branded consumer products. The
plexity and variety of competitive processes, and clearer          contours represent combinations of the two elasticities yield-
understanding that differing modeling assumptions can              ing market-wide average price increases of 0.4, 0.6, 0.8, 1.0,
amplify or attenuate merger price increases, and even make         and 1.2 percent. Thus, the highest contour represents an
them disappear altogether. Making assumptions explicit also        average price increase three times that of the lowest contour.32
can help keep structural modeling firmly grounded in fact, by          Presenting merger simulation results this way makes it
facilitating a comparison between features of the model and        clear how, and by how much, the choice of values of the rel-

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    The other way to respond to the inherent uncertainty              effect of the merger would be very different because of the
about demand curvature is to undertake an analysis some-              retail sector; indeed, the merger could affect only fixed fees,
what different than merger simulation, which is not sensitive         while leaving wholesale prices, as such, unchanged.
to demand curvature. Instead of asking by how much a merg-                Things are quite different if manufacturers and retailers
er would raise price in the absence of synergies affecting mar-       both exercise market power at their respective levels of dis-
ginal costs, one can ask by how much would merger syner-              tribution, and if the terms under which manufacturers sell
gies have to reduce marginal costs to prevent any price               to retailers involve a single wholesale price and no fixed fees.
increases at all. These latter amounts are referred to as com-        Manufacturers then price above their marginal costs to a
pensating marginal cost reductions (CMCRs). CMCRs do                  degree determined by the competition among them, and
not depend on demand curvature for the simple reason that             retailers mark up the wholesale prices to a degree deter-
the post-merger, post-synergy equilibrium, with the CMCRs,            mined by competition in retailing, thus presenting the “dou-
is precisely the same as the pre-merger, pre-synergy equilib-         ble markup” or “double marginalization” problem. Both the
rium. Using the Bertrand model, it is reasonably straightfor-         manufacturer and the retailer raise price significantly above
ward to compute the CMCRs for a merger of branded con-                their marginal cost in the attempt to capture a larger slice
sumer products, given a set of prices, shares, and elasticities       of the “profit pie,” but that shrinks the size of the pie.
used to calibrate a merger simulation.36                              Equilibrium retail prices are higher than those maximizing
    The Retail Sector. A retail sector typically separates the        joint retailer and manufacturer profit.
merging manufacturers from the consumers, and, when that                  No general model has been analyzed in which the man-
is the case, simulating a merger involving manufacturers of           ufacturing and retail sectors behave in this manner, but in a
branded consumer products requires a modeling choice about            model with a single retailer and several manufacturers, it has
the retail sector. Most published merger simulations have             been shown that the price effects of merger can be attenu-
just ignored the retail sector, effectively choosing to model the     ated or amplified relative to those with a transparent retail
industry as if manufacturers sold directly to consumers.37            sector that simply passes along upstream price increases.
This choice can be justified only in two scenarios. One is that       Whether price effects are attenuated or amplified is deter-
of a “transparent” retail sector in the sense that the retail and     mined largely by the curvature of demand. The effects have
manufacturing sectors are effectively merged together by              much in common with the price effects of marginal cost
manufacturers’ use of contractual devices to extract all of the       changes, and the analysis of the pass through of cost changes
retailers’ profits.38 The other is that of retailers following a      demonstrates the central role of demand curvature. Particu-
simple rule of thumb and applying a constant percentage               larly sensitive to assumptions about demand curvature are
mark-up to the prices they pay to manufacturers. In this lat-         the price increases by the non-merging firms producing rea-
ter scenario, the demand elasticities are exactly the same at the     sonably close substitutes for the merging products.42
retail and wholesale levels, and it is trivial to translate between       In a 1995 analysis of a merger of leading bakers of white
the two.39                                                            pan bread, the Justice Department’s expert (one of this arti-
    In all other scenarios, ignoring the retail sector is apt to      cle’s authors) concluded that retailers priced by applying a
render merger simulation predictions significantly mislead-           constant percentage markup to the wholesale price. In the
ing. Regrettably, a totally realistic analysis of competing man-      light of this conclusion, it was straightforward to account for
ufacturers selling through competing retailers is extraordi-          the retail sector in simulating the merger.43 In other cases, it
narily complex and well beyond the current state of the               may be possible to gain some insight into the manufacturer-
economic literature. The analysis of relatively simple models,        retailer relationship by examining the manufacturers’ price-
however, has indicated that the retail sector can amplify,            cost margins. For example, those margins are predicted to be
attenuate, eliminate, or simply pass through upstream price           zero or negative in two models that have been analyzed, and
increases from merger.40                                              either prediction may be refuted easily.44 A close examination
    If individual retailers face no competition and charge            of retailer behavior and manufacturer-retailer dealings can be
prices that fully exploit their monopolies at the retail level, a     vital for accurate prediction of the effects of a branded con-
manufacturing merger could have no effect on retail prices.           sumer products merger.
The manufacturers and retailers both would want to make
the “profit pie” as big as possible by setting optimal retail         Conclusion
prices, which would be unaffected by the merger. Hence,               The basic economic theory underlying unilateral effects from
retail prices likely would remain the same after a manufac-           horizontal mergers is deceptively simple: Before the merger,
turing merger. How manufacturers and retailers divide the pie         each seller of competing branded consumer products selects
would be determined by their relative bargaining power,               the price that maximizes its profits. A merger of two such
which likely would be altered by a merger. The absence of an          competitors necessarily alters the profit calculus by changing
effect on retail prices may not mean that the merger of two           product ownership. Increasing the quantity sold for one
manufacturers escapes condemnation under Section 7,41 but             merging product takes sales away from one or more products
ignoring the retail sector would be highly problematic. The           the merger brings into common ownership. The merging

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firms had ignored this effect, but the merged firm fully                                  conclusion, however, was not based on a detailed and reliable study of the
                                                                                          actual effects of the merger.
accounts for it, responding to this change in incentives by                             4 Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 593 (1993).
raising prices. Non-merging firms respond with price increas-                           5 Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141, 152 (1999).
es of their own.                                                                        6 Id. at 141 (“[T]he trial judge’s general ‘gatekeeping’ obligation . . . applies
    Behind this simple story is a complex game-theoretic                                  not only to testimony based on ‘scientific’ knowledge, but also to testimo-
model replete with assumptions about how consumers, retail-                               ny based on ‘technical’ and ‘other specialized’ knowledge.”).
                                                                                        7 Daubert, 509 U.S. at 591.
ers, and manufacturers behave, and especially about how
                                                                                        8 General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).
competing manufacturers interact with each other and with
                                                                                        9 Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1056 (8th Cir.
retailers.45 By specifying a particular model, it is possible to                          2000).
make quantitative predictions of the price effects of branded                          10 Id. at 1055–57.

products mergers. It is important to assess the reliability of                         11 In American Booksellers Ass’n, Inc. v. Barnes & Noble, Inc., 135 F. Supp. 2d

these predictions, yet there is scarce empirical evidence on                              1031, 1041 (N.D. Cal. 2001), a highly respected econometrician’s empiri-
their accuracy in predicting the actual price effects of merg-                            cal model was excluded for purposes of proving damage causation because
                                                                                          the model contained “too many assumptions and simplifications that are not
ers. Thus, to assess reliability, we propose standards derived                            supported by real-world evidence.” In Johnson Electric North America, Inc. v.
from Daubert and the Federal Rules of Evidence.                                           Mabuchi Motor America Corp., 103 F. Supp. 2d 268, 280–87 (S.D.N.Y.
    Any model used to predict the effects of a merger must fit                            2000), the empirical analysis of another noted econometrician was exclud-
                                                                                          ed because it did “not ‘fit’ the facts of [the] case because it fail[ed] to take
the facts of the industry in the sense that the model explains                            into account” key industry facts. In Blue Dane Simmental Corp. v. American
past market outcomes reasonably well. Many critical model-                                Simmental Ass’n, 178 F.3d 1035, 1039–41 (8th Cir. 1999), an empirical dam-
ing choices can be justified or rejected by evidence gathered                             age estimate was excluded because it inferred “causation without consid-
                                                                                          ering all independent variables that could affect the conclusion.” Also of inter-
in the normal course of a merger investigation. The model-                                est is Group Health Plan, Inc. v. Philip Morris USA, Inc., 344 F.3d 753, 760–61
ing exercise indicates kinds of evidence useful to gather and                             (8th Cir. 2003), in which the plaintiffs’ expert testimony, although “thorough,
how to interpret it, while the evidence indicates whether any                             sophisticated, and often well-grounded in the relevant scientific literature,”
                                                                                          was excluded because of “excessive speculation” and a “disconnect”
given model is appropriate. When the evidence cannot jus-                                 between the expert’s analysis and the plaintiffs’ “theory of liability.”
tify or reject an important choice, a sensitivity analysis should                      12 Information about the world is never perfect, and different sources of infor-

be done. A range of estimates should be reported that reflect                             mation often are inconsistent. The merging firms and other interested par-
                                                                                          ties have incentives to slant the truth in ways that suit their interests and
the uncertainty in the model’s predictions.                                              to avoid disclosing potentially enlightening information. Moreover, uninter-
                                                                                          ested parties may not be forthcoming. Consequently, a merger investigation
                                                                                          or trial cannot be expected to determine all facts with complete clarity and
                                                                                          precision, and merger simulation should not be held to a higher standard of
                                                                                          proof than is applied to other analysis. It simply may not be possible to fit
1 U.S. Dep’t of Justice and Federal Trade Commission, Horizontal Merger
                                                                                          all the “apparent facts” together in any sensible way.
  Guidelines (1992, rev’d 1997), reprinted in 4 Trade Reg. Rep. (CCH)                  13 Different observers also perceive the facts differently or take different views
  ¶ 13,104.
                                                                                          of which facts are critical. If so, more than one approach may satisfy the
2 On simulating the unilateral effects of mergers in branded consumer prod-
                                                                                          demands of Daubert, leaving it to the trier of fact or the enforcement agency
  ucts industries, which is the most common application, see ABA A NTITRUST               to determine which, if either, to credit. That determination is most fruitfully
  S ECTION , E CONOMETRICS IN A NTITRUST ch. 11 (John D. Harkrider & Daniel L.            made if the competing analyses are accompanied by explicit statements of
  Rubinfeld eds, forthcoming 2004) [hereinafter E CONOMETRICS ]; Gregory J.               key assumptions and their justifications.
  Werden & Luke M. Froeb, Simulation as an Alternative to Structural Merger            14 Sensitivity analysis is not required for any modeling choice that is well jus-
  Policy in Differentiated Products Industries, in T H E E C O N O M I C S O F T H E
                                                                                          tified by its fit with the facts. When the fit with the facts may be in dispute,
  A NTITRUST P ROCESS 65 (Malcolm B. Coate & Andrew N. Kleit eds., 1996);
                                                                                          however, it is useful to undertake a sensitivity analysis in addition to justi-
  Gregor y J. Werden, Simulating Unilateral Competitive Effects from
                                                                                          fying a choice. For some modeling choices—for example, the oligopoly
  Differentiated Products Mergers, A NTITRUST , Spring 1997, at 27; Gregory J.
                                                                                          model used—no useful sensitivity analysis may be possible; therefore, such
  Werden, Simulating the Effects of Mergers in Differentiated Products
                                                                                          choices require solid justifications.
  Industries: A Practical Alternative to Structural Merger Policy, 5 G EO. M ASON      15 If model parameters are not derived through econometrics, there may be no
  L. R EV. 363 (1997). For illustrative applications to actual mergers, see
  Jerry A. Hausman & Gregory K. Leonard, Economic Analysis of Differentiated              sampling error, although sampling error still may be associated with the mea-
  Products Mergers Using Real World Data, 5 G EO. M ASON L. R EV. 321 (1997);             surement of prices and shares. Moreover, key economic constructs, such as
  Aviv Nevo, Mergers with Differentiated Products: The Case of the Ready-to-Eat           marginal cost, are necessarily measured with error, so measurement error
  Cereal Industry, 31 R AND J. E CON . 395, 416 (2000); Gregory J. Werden,                may replace sampling error when demand elasticities are inferred from the
  Expert Report in United States v. Interstate Bakeries Corp. and Continental             observed relationships between prices and costs rather than estimated
  Baking Co., 7 I NT ’ L J. E CON . B US . 139 (2000).                                    econometrically.
                                                                                       16
3 Because it is difficult to generate reliable estimates of the actual price and          In addition, if the predicted price increases absent any synergies are close
  output effects of mergers in most industries, there is scarce evidence on the           to zero, modest marginal-cost reductions from merger synergies would cause
  accuracy of every method for predicting the competitive effects of mergers.             the merging firms to decrease prices, and the merger might have other off-
  As for merger simulation in particular, one study found merger simulation               setting consumer benefits, such as speeding the introduction of new prod-
  under-predicted the actual price effects of airline mergers. Craig Peters,              ucts.
                                                                                       17 The model is named for Joseph Louis François Bertrand, who posited it in
  Evaluating the Performance of Merger Simulation: Evidence from the U.S.
  Airline Industry (U.S. Dep’t of Justice, Antitrust Division, Economic Analysis          Review of “Théorie Mathématique de la Richesse Sociale,” and “Recherches
  Group Discussion Paper 03-1, Jan. 2003). But we find merger simulation ill-             sur les Principes Mathématiques de la Théorie des Richesses,” 67 J OURNAL
  suited to the airline industry because pricing is not well explained by any oli-        D E S S AVA N T S 499 (1883). A modern translation appears in C O U R N O T
  gopoly model that can be used in merger simulation. We also have doubts                 O LIGOPOLY 73 (Andrew F. Daughety ed., 1988). For an introductory presen-
  about the estimated “actual” price effects of the mergers in this study.                tation of the model, see D ENNIS W. C ARLTON & J EFFREY M. P ERLOFF, M ODERN
  Another study found simulation predicted reasonably well the effects of a               I NDUSTRIAL O RGANIZATION 166–72 (3d ed. 2000). For more technical treat-
  merger in the ready-to-eat breakfast cereal industry. Nevo, supra note 2. That          ments, see Carl Shapiro, Theories of Oligopoly Behavior, in 1 H ANDBOOK OF


9 4    ·   A N T I T R U S T
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   I NDUSTRIAL O RGANIZATION 329, 343–48 (Richard Schmalensee & Robert D.                    market-wide average price increase, and the former price increases could be
   Willig eds., 1989); X AVIER V IVES , O LIGOPOLY P RICING : O LD I DEAS AND N EW           much greater than shown here if consumers perceived WorldCom and Sprint
   T OOLS ch. 5 (1999).                                                                      as offering particularly close substitutes.
18 A Bertrand equilibrium is a Nash non-cooperative equilibrium. The concept               33 The available data in any particular case almost certainly contain too much

   was introduced by mathematician John F. Nash, Jr., and it earned him a share              noise and too little price variation for an empirical determination of functional
   of the 1994 Nobel Memorial Prize in Economics.                                            form.
19 The price-cost margin is price minus short-run marginal cost, all divided by            34 See Philip Crooke, Luke Froeb, Steven Tschantz & Gregory J. Werden, The

   price. The authors of this article do not agree on exactly what the compari-               Effects of Assumed Demand Form on Simulated Postmerger Equilibria, 15 R EV.
   son between actual and predicted margins shows or how important it is, but                 I NDUS . O RG . 205 (1999).
   several aspects of this comparison are detailed below.                                  35 Both axes of the graph have been translated somewhat to make the relevant
20 Calibrating models to observable data distinguishes the principal policy use
                                                                                              ranges of the demand curves appear larger. Marginal cost was assumed to
   of structural models from principal academic use of these models. In addi-                 be 4, making the competitive price 4 as well. The highest of the monopoly
   tion, much academic research is content with determining the signs of the                  prices, with isoelastic demand, is 8, and the lowest of the monopoly prices,
   various effects, while in policy applications, the magnitudes of the effects               with linear demand, is 5.
   tend to be critical. In merger enforcement, it is plainly insufficient to deter-        36 See Gregory J. Werden, A Robust Test for Consumer Welfare Enhancing
   mine that a merger will raise price by some—possibly trivial—amount.                       Mergers Among Sellers of Differentiated Products, 44 J. I NDUS . E CON . 409
   Typically, modeling assumptions make that a forgone conclusion, and the crit-              (1996). Thus, CMCRs can be used as a critical benchmark for assessing the
   ical issue is whether the merger likely would raise prices substantially.                  efficiency claims of the merging parties. See Luke M. Froeb, Steven Tschantz
21 By construction, the properly calibrated simulation model normally perfect-
                                                                                              & Gregory J. Werden, Pass Through Rates and the Price Effects of Mergers,
   ly “predicts” the set of prices and shares to which the model is calibrated.               I NT ’ L J. I NDUS . O RG . (forthcoming 2004). Although no assumption about
   In some cases, however, a perfect fit may be impossible, and the calibration               demand curvature is required to compute CMCRs, such an assumption has
   entails determining the parameters making the model fit the data best.                     to be made if the demand elasticities used to compute the CMCRs are esti-
22 See generally E CONOMETRICS , supra note 2, App. V; Daniel Hosken et al.,                  mated econometrically, and such estimates are sensitive to the assumption
   Demand System Estimation and Its Application to Horizontal Merger Analysis                 made. See Halbert White, Using Least Squares to Approximate Unknown
   (FTC Bureau of Economics, Working Paper 246, Apr. 2002), available at                      Regression Functions, 21 I NT ’ L E CON . R EV. 149 (1980).
   http://www.ftc.gov/be/workpapers/wp246.pdf.                                             37 See, e.g., Nevo, supra note 2; Hausman & Leonard, supra note 2; Atanu Saha
23 Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1056 (8th Cir.                       & Peter Simon, Predicting the Price Effects of Mergers with Polynomial Logit
   2000). “The model also failed to account for market events that both sides                 Demand, 7 I NT ’ L J. E CON . B US . 149 (2000).
   agreed were not related to any anticompetitive conduct . . . .” Id.                     38 See Luke Froeb, Steven Tschantz & Gregory J. Werden, Vertical Restraints
24 Available accounting data on the variable costs associated with the pro-                   and the Effects of Upstream Horizontal Mergers (unpublished paper Apr. 2,
   duction of branded consumer products commonly make it possible to pro-                     2002).
   duce reasonable estimates of the relevant short-run marginal costs.                     39 Although the retail and manufacturing level demand elasticities are the
   However, there may be significant conceptual issues in some cases that                     same, the prices are different, and that must be accounted for.
   make it difficult to estimate marginal costs. For example, significant oppor-           40 See Froeb, Tschantz & Werden, supra note 38; Daniel P. O’Brien & Greg
   tunity costs may be associated with the use of scarce factors of production
                                                                                              Shaffer, Bargaining, Bundling, and Clout: The Portfolio Effects of Horizontal
   that have alternative profitable uses.
                                                                                              Mergers (FTC Bureau of Economics, Working Paper 266, Dec. 2003), avail-
25 For an illustration in which a testifying expert (one of the authors of this arti-
                                                                                              able at http://www.ftc.gov/be/workpapers/wp266.pdf.
   cle) found the Bertrand model to explain pre-merger pricing very well, see              41 In FTC v. H.J. Heinz Co., 246 F.3d 708, 719 (D.C. Cir. 2001), an “impact at
   Werden, Expert Report, supra note 2.
                                                                                              the consumer level” was not required to condemn the merger of two baby
26 United States v. WorldCom, Inc., No. 1:00CV01526 (D.D.C. filed June 27,
                                                                                              food manufacturers. The court held that “the antitrust laws assume that a
   2000). The parties announced the termination of their merger agreement on                  retailer faced with an increase in the cost of one of its inventory items ‘will
   July 13, 2000.                                                                             try so far as competition allows to pass that cost on to its customers.’” Id.
27 For a discussion of demand estimation in the case, see E CONOMETRICS , supra               (quoting In re Brand Name Prescription Drugs Antitrust Litig., 123 F.3d 599,
   note 2, App. IA.                                                                           605 (7th Cir. 1997)). It is not entirely clear, however, that Section 7 protects
28 The available price data masked complexity and variation of the actual                     the retailers in this particular scenario from having to share some of their
   terms of the calling plans among which consumers selected. The price data                  monopoly profits with manufacturers.
   also reflected a mix of current and legacy prices, as well as a variety of cur-         42 See Froeb, Tschantz & Werden, supra note 38.

   rent offerings, and the observed average prices obscured characteristics on             43 See Werden, Expert Report, supra note 2.
   which consumers based their choices among carriers. In addition, con-                   44 See Froeb, Tschantz & Werden, supra note 38 (the models are described in
   sumers appeared to exhibit considerable inertia in responding to new call-
                                                                                             the two paragraphs following note 40, supra). There also have been sever-
   ing plans, and many likely were ill-informed.
                                                                                             al empirical analyses of the retailer-manufacturer relationship. See K. Sudhir,
29 The logit model of demand is built on this assumption. On that model and
                                                                                             Structural Analysis of Manufacturer Pricing in the Presence of a Strategic
   merger simulation using it, see Gregory J. Werden, Luke M. Froeb & Timothy                Retailer, 20 M ARKETING S CI . 244 (2001); Sofia Berto Villas-Boas, Vertical
   J. Tardiff, The Use of the Logit Model in Applied Industrial Organization, 3 I NT ’ L     Contracts Between Manufacturers and Retailers: An Empirical Analysis
   J. E CON . B US . 83 (1996); Gregory J. Werden & Luke M. Froeb, The Effects               (unpublished paper May 2003), available at http://ist-socrates.berkeley.edu/
   of Mergers in Differentiated Products Industries: Logit Demand and Merger                 ~villas/vertical.pdf.
   Policy, 10 J.L. E CON . & O RG . 407 (1994).                                            45 This article concentrates on branded consumer products, because merger
30 We use the prices and shares reported in E CONOMETRICS , supra note 2,
                                                                                             simulation has most often been used with such products. There are, how-
   App. IA, table 2.                                                                         ever, other possible applications of merger simulation, and they may raise
31 The same sort of analysis could be used as an initial screening device, i.e.,
                                                                                             additional important issues. For an example of a different application involv-
   a quick method for determining whether a merger plausibly might produce                   ing quite different issues, see Luke Froeb, Steven Tschantz & Philip Crooke,
   significant anticompetitive effects. Merger simulation of the sort described              Bertrand Competition with Capacity Constraints: Mergers Among Parking Lots,
   here is well-suited to such a use because little data is required for model               113 J. E CONOMETRICS 49 (2003). With parking lots, as with airlines and
   calibration. See Gregory Werden & Luke Froeb, Calibrated Economic Models                  hotels, a large fraction of total cost is incurred in creating capacity, which in
   Add Focus, Accuracy, and Persuasiveness to Merger Analysis, in T HE P ROS AND             the short term is fixed, and its costs are sunk. A competitor’s short-term
   C ONS OF M ERGER C ONTROL 63 (Swedish Competition Authority 2002). We                     problem is to maximize the revenue, net of variable costs, that can be gen-
   believe such screening is a productive use of merger simulation, and                      erated using its fixed capacity. The optimal strategy for parking lots is like-
   because the predictions are not given significant weight, the reliability stan-           ly to be to set the highest price that fills up the lots. This likely remains the
   dards advocated here do not apply.                                                        optimal strategy after a merger, so a merger of directly competing parking
32
     The price increases for the merged firm are substantially greater than the              lots may have no short-term effect on prices.

                                                                                                                                     S U M M E R        2 0 0 4      ·   9 5
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        Reference Manual on
        Scientific Evidence
        Third Edition




               Committee on the Development of the Third Edition of the
                      Reference Manual on Scientific Evidence

                     Committee on Science, Technology, and Law
                             Policy and Global Affairs


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        Reference Guide on
        Survey Research
        SHARI SEIDMAN DIAMOND

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        Professor of Psychology, Northwestern University, and a Research Professor, American Bar
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                                          Reference Guide on Survey Research



        II. Purpose and Design of the Survey
        A. W
            as the Survey Designed to Address Relevant Questions?
        The report describing the results of a survey should include a statement describing
        the purpose or purposes of the survey. One indication that a survey offers proba-
        tive evidence is that it was designed to collect information relevant to the legal
        controversy (e.g., to estimate damages in an antitrust suit or to assess consumer
        confusion in a trademark case). Surveys not conducted specifically in preparation
        for, or in response to, litigation may provide important information,62 but they
        frequently ask irrelevant questions63 or select inappropriate samples of respondents
        for study.64 Nonetheless, surveys do not always achieve their stated goals. Thus,
        the content and execution of a survey must be scrutinized whether or not the
        survey was designed to provide relevant data on the issue before the court.65
        Moreover, if a survey was not designed for purposes of litigation, one source of
        bias is less likely: The party presenting the survey is less likely to have designed
        and constructed the survey to provide evidence supporting its side of the issue in
        controversy.




               62. See, e.g., Wright v. Jeep Corp., 547 F. Supp. 871, 874 (E.D. Mich. 1982). Indeed, as courts
        increasingly have been faced with scientific issues, parties have requested in a number of recent cases
        that the courts compel production of research data and testimony by unretained experts. The circum-
        stances under which an unretained expert can be compelled to testify or to disclose research data and
        opinions, as well as the extent of disclosure that can be required when the research conducted by
        the expert has a bearing on the issues in the case, are the subject of considerable current debate. See,
        e.g., Joe S. Cecil, Judicially Compelled Disclosure of Research Data, 1 Cts. Health Sci. & L. 434 (1991);
        Richard L. Marcus, Discovery Along the Litigation/Science Interface, 57 Brook. L. Rev. 381, 393–428
        (1991); see also Court-Ordered Disclosure of Academic Research: A Clash of Values of Science and Law, Law
        & Contemp. Probs., Summer 1996, at 1.
               63. See Loctite Corp. v. National Starch & Chem. Corp., 516 F. Supp. 190, 206 (S.D.N.Y.
        1981) (marketing surveys conducted before litigation were designed to test for brand awareness, while
        the “single issue at hand . . . [was] whether consumers understood the term ‘Super Glue’ to designate
        glue from a single source”).
               64. In Craig v. Boren, 429 U.S. 190 (1976), the state unsuccessfully attempted to use its annual
        roadside survey of the blood alcohol level, drinking habits, and preferences of drivers to justify pro-
        hibiting the sale of 3.2% beer to males under the age of 21 and to females under the age of 18. The
        data were biased because it was likely that the male would be driving if both the male and female
        occupants of the car had been drinking. As pointed out in 2 Joseph L. Gastwirth, Statistical Reasoning
        in Law and Public Policy: Tort Law, Evidence, and Health 527 (1988), the roadside survey would
        have provided more relevant data if all occupants of the cars had been included in the survey (and if
        the type and amount of alcohol most recently consumed had been requested so that the consumption
        of 3.2% beer could have been isolated).
               65. See Merisant Co. v. McNeil Nutritionals, LLC, 242 F.R.D. 315 (E.D. Pa. 2007).

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     O962FTC1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x
     FEDERAL TRADE COMMISSION,
3
                       Plaintiff,                    New York, N.Y.
4
                  v.                                 24 Civ. 3109 (JLR)
5
     TAPESTRY, INC., and CAPRI
6    HOLDINGS LIMITED,

7                   Defendants.
     ------------------------------x                 Remote Hearing
8
                                                     September 6, 2024
9                                                    10:05 a.m.

10   Before:

11                            HON. JENNIFER L. ROCHON,

12                                                   District Judge

13

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1    reliable and recognized in the fields of economics.              See, e.g.,

2    United States v. Anthem, 236 F.Supp.3d 171, 217, 220 (D.D.C.

3    2017).    And the parenthetical reads (crediting diversion ratio

4    analysis of government's expert which utilized internal company

5    data of past bidding activity).

6               With respect to whether an input into his analysis;

7    namely, the particular survey questions chosen are flawed will

8    be assessed by this Court in deciding the weight to afford this

9    opinion.    Therefore, the Court will not exclude it at this

10   point and will evaluate it in due course, just as was done in

11   H&R Block.

12              With respect to am Jeff Gennette and Karen Giberson,

13   the Court next analyzes plaintiff's motion to exclude the

14   testimony of those individuals at Docket Nos. 171 and 176.

15   Mr. Gennette is the former chief executive officer and chairman

16   of Macy's, Inc., one of the largest retailers of handbags and

17   has had more than 40 years of experience at Macy's, which

18   includes Bloomingdale's in various roles.           Docket No. 281 at

19   2-3.   Ms. Giberson has more than 30 years of experience in the

20   handbag industry and is presently the president and CEO of the

21   Accessories Council and Editor-in-Chief of a magazine

22   publication dedicated to fashion accessories. Dkt. 283 at 1.

23              Plaintiff argues that the Court should exclude the

24   opinions and testimony of both Mr. Gennette and Ms. Giberson

25   because they offer opinions that are not based on reliable


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